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      Attorneys for Plaintiff,
8     SANDRA EDMONDS
9
                         UNITED STATES DISTRICT COURT
10
                        CENTRAL DISTRICT OF CALIFORNIA
11

12
     SANDRA EDMONDS,                             Case No.: 2:19-cv-10903-MWF-E
13
                  Plaintiff,

14         vs.                              PLAINTIFF’S REQUEST FOR
     3828 SLAUSON, LLC, a Limited           DISMISSAL WITH PREJUDICE OF
15
     Liability California Company; and Does ALL DEFENDANTS
16   1-10,
17                Defendants.
18                                               [Fed. R. Civ. P. Rule 41(a)(2)]
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           Plaintiff Sandra Edmonds requests that, pursuant to Federal Rules of Civil

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     Procedure, Rule 41 (a)(1) and (2), this Court enter a dismissal with prejudice of

25   Defendant 3828 Slauson, LLC, a California Limited Liability Company, from
26   Plaintiff’s Complaint Case Number 2:19-cv-10903-MWF-E. The parties herein
27   reached settlement of the present action.
28
             PLAINTIFF’S REQUEST FOR DISMISSAL WITH PREJUDICE OF ALL DEFENDANTS
     Case 2:19-cv-10903-MWF-E Document 14 Filed 02/18/20 Page 2 of 2 Page ID #:55



1          Since no Defendants shall remain in this action, Plaintiffs request that
2    Plaintiff’s Complaint be dismissed with prejudice in its entirety.
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      Dated: February 18, 2020         THE LAW OFFICE OF HAKIMI & SHAHRIARI
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                                       By: /s/Peter Shahriari
8                                          Peter Shahriari, Esq.
9                                          Attorneys for Plaintiff, Sandra Edmonds
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             PLAINTIFF’S REQUEST FOR DISMISSAL WITH PREJUDICE OF ALL DEFENDANTS
